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                           UNITED STATES DISTRICT COURT
 8
                       CENTRAL DISTRICT OF CALIFORNIA
 9
10
   DANNY LOPEZ, individually, and on            Case No. CV 21-7108-DMG (Ex)
11 behalf of other aggrieved employees
12              Plaintiff,                      STIPULATED PROTECTIVE
                                                ORDER
13        vs.
14 AIRCRAFT SERVICE
   INTERNATIONAL, INC., a
15 corporation; AIR MENZIES
   INTERNATIONAL (USA), INC., a
16 corporation; MENZIES AVIATION
   (USA), INC., a corporation; and DOES
17 1 through 50, inclusive,
18              Defendants.

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                                                          STIPULATED PROTECTIVE ORDER
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 1         1.    A. PURPOSES AND LIMITATIONS
 2         Discovery in this action is likely to involve production of confidential,
 3 proprietary, or private information for which special protection from public disclosure
 4 and from use for any purpose other than prosecuting this litigation may be warranted.
 5 Accordingly, the parties hereby stipulate to and petition the Court to enter the following
 6 Stipulated Protective Order. The parties acknowledge that this Order does not confer
 7 blanket protections on all disclosures or responses to discovery and that the protection
 8 it affords from public disclosure and use extends only to the limited information or
 9 items that are entitled to confidential treatment under the applicable legal principles.
10 The parties further acknowledge, as set forth in Section 12.3, below, that this Stipulated
11 Protective Order does not entitle them to file confidential information under seal;
12 Civil Local Rule 79-5 sets forth the procedures that must be followed and the standards
13 that will be applied when a party seeks permission from the court to file material under
14 seal.
15         B. GOOD CAUSE STATEMENT
16         This action is likely to involve trade secrets, confidential information
17 concerning the business operations of Defendants Menzies Aviation (USA), Inc.,
18 Aircraft Service International, Inc., and Air Menzies International (USA), Inc.
19 (hereafter collectively “Defendants”), including valuable research, development,
20 commercial, financial, technical and/or proprietary information, and the private
21 and/or personal information of Plaintiff Danny Lopez (hereafter “Plaintiff”), current
22 and former employees of Defendants and other third party individuals, including
23 contact information and other private and/or personal identifying information, for
24 which special protection from public disclosure and from use for any purpose other
25 than prosecution of this action is warranted. Such confidential information may
26 consist of, among other things, confidential business or financial information,
27 information regarding confidential business practices, or other confidential research,
28 development, or commercial information (including information implicating privacy

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 1 rights of third parties), and information otherwise generally unavailable to the public,
 2 or which may be privileged or otherwise protected from disclosure under state or
 3 federal statutes, court rules, case decisions, or common law. Accordingly, to expedite
 4 the flow      of information, to facilitate the prompt resolution of disputes over
 5 confidentiality of discovery materials, to adequately protect information the parties
 6 are entitled to keep confidential, to ensure that the parties are permitted reasonable
 7 necessary uses of such material in preparation for and in the conduct of trial, to address
 8 their handling at the end of the litigation, and serve the ends of justice, a protective
 9 order for such information is justified in this matter. It is the intent of the parties that
10 information will not be designated as confidential for tactical reasons and that nothing
11 be so designated without a good faith belief that it has been maintained in a
12 confidential, non-public manner, and there is good cause why it should not be part of
13 the public record of this case.
14         2.     DEFINITIONS
15         2.1    Action: Danny Lopez, et al. v. Aircraft Service International, Inc., et al.,
16 Case No. CV 21-7108-DMG (Ex).
17         2.2    Challenging Party: a Party or Non-Party that challenges the designation
18 of information or items under this Order.
19         2.3    “CONFIDENTIAL” Information or Items: information (regardless of
20 how it is generated, stored or maintained) or tangible things that qualify for protection
21 under Federal Rule of Civil Procedure 26(c), and as specified above in the Good
22 Cause Statement.
23         2.4    Counsel: Outside Counsel of Record and House Counsel (as well as
24 their support staff).
25         2.5    Designating Party: a Party or Non-Party that designates information or
26 items that it produces     in     disclosures     or   in   responses   to    discovery     as
27 “CONFIDENTIAL.”
28         2.6    Disclosure or Discovery Material: all items or information, regardless of

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 1 the medium or manner in which it is generated, stored, or maintained (including,
 2 among other things, testimony, transcripts, and tangible things), that are produced or
 3 generated in disclosures or responses to discovery in this matter.
 4         2.7   Expert: a person with specialized knowledge or experience in a matter
 5 pertinent to the litigation who has been retained by a Party or its counsel to serve as
 6 an expert witness or as a consultant in this Action.
 7         2.8   House Counsel: attorneys who are employees of a party to this Action.
 8 House Counsel does not include Outside Counsel of Record or any other outside
 9 counsel.
10         2.9   Non-Party: any natural person, partnership, corporation, association, or
11 other legal entity not named as a Party to this action.
12         2.10 Outside Counsel of Record: attorneys who are not employees of a party
13 to this Action but are retained to represent or advise a party to this Action and have
14 appeared in this Action on behalf of that party or are affiliated with a law firm which
15 has appeared on behalf of that party, and includes support staff.
16         2.11 Party: any party to this Action, including all of its officers, directors,
17 employees, consultants, retained experts, and Outside Counsel of Record (and their
18 support staffs).
19         2.12 Producing Party: a Party or Non-Party that produces Disclosure or
20 Discovery Material in this Action.
21         2.13 Professional Vendors:       persons or entities that provide litigation
22 support services (e.g., photocopying, videotaping, translating, preparing exhibits or
23 demonstrations, and organizing, storing, or retrieving data in any form or medium)
24 and their employees and subcontractors.
25         2.14 Protected Material:         any Disclosure or Discovery Material that is
26 designated as “CONFIDENTIAL.”
27         2.15 Receiving Party: a Party that receives Disclosure or Discovery
28 Material from a Producing Party.

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 1        3.     SCOPE
 2        The    protections conferred by this Stipulation and Order cover not only
 3 Protected Material (as defined above), but also (1) any information copied or
 4 extracted from Protected Material; (2) all copies, excerpts, summaries, or
 5 compilations of Protected Material; and (3) any testimony, conversations, or\
 6 presentations by Parties or their Counsel that might reveal Protected Material.
 7        Any use of Protected Material at trial shall be governed by the orders of the
 8 trial judge. This Order does not govern the use of Protected Material at trial.
 9        4.     DURATION
10         Even after final disposition of this litigation, the confidentiality obligations
11 imposed by this Order shall remain in effect until a Designating Party agrees
12 otherwise in writing or a court order otherwise directs. Final disposition shall be
13 deemed to be the later of (1) dismissal of all claims and defenses in this Action, with
14 or without prejudice; and (2) final judgment herein after the completion and
15 exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
16 including the time limits for filing any motions or applications for extension of time
17 pursuant to applicable law.
18        5.     DESIGNATING PROTECTED MATERIAL
19        5.1    Exercise of Restraint and Care in Designating Material for Protection.
20 Each Party or Non-Party that designates information or items for protection under this
21 Order must take care to limit any such designation to specific material that qualifies
22 under the appropriate standards. The Designating Party must designate for protection
23 only those parts of material, documents, items, or oral or written communications
24 that qualify so that other portions of the material, documents, items, or
25 communications for which protection is not warranted are not swept unjustifiably
26 within the ambit of this Order.
27        Mass, indiscriminate, or routinized designations are prohibited. Designations
28 that are shown to be clearly unjustified or that have been made for an improper

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 1 purpose (e.g., to unnecessarily encumber the case development process or to impose
 2 unnecessary expenses and burdens on other parties) may expose the Designating Party
 3 to sanctions.
 4         If it comes to a Designating Party’s attention that information or items that it
 5 designated for protection do not qualify for protection, that Designating Party must
 6 promptly notify all other Parties that it is withdrawing the inapplicable designation.
 7         5.2     Manner and Timing of Designations. Except as otherwise provided in
 8 this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
 9 stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
10 under this Order must be clearly so designated before the material is disclosed or
11 produced.
12         Designation in conformity with this Order requires:
13         (a)     for information in documentary form (e.g., paper or            electronic
14 documents, but excluding transcripts of depositions or other pretrial or              trial
15 proceedings), that the Producing Party affix at a minimum, the legend
16 “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that
17 contains protected material. If only a portion or portions of the material on a page
18 qualifies for protection, the Producing Party also must clearly identify the protected
19 portion(s) (e.g., by making appropriate markings in the margins).
20         A Party or Non-Party that makes original documents available for inspection
21 need not designate them for protection until after the inspecting Party has indicated
22 which documents it would like copied and produced. During the inspection and before
23 the designation, all of the material made available for inspection shall be deemed
24 “CONFIDENTIAL.” After the inspecting            Party has identified the documents it
25 wants copied and produced, the Producing Party must determine which documents,
26 or portions thereof, qualify for protection under this Order. Then, before producing
27 the specified documents, the Producing Party must affix       the   “CONFIDENTIAL
28 legend” to each page that contains Protected Material. If only a portion or portions

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 1 of the material on a page qualifies for protection, the     Producing Party also must
 2 clearly identify the protected portion(s) (e.g., by making appropriate
 3 markings in the margins).
 4         (b) for testimony given in depositions that the Designating Party identify
 5 the Disclosure or Discovery Material on the record, before the close of                the
 6 deposition all protected testimony.
 7         (c)   for information produced in some form other than documentary and
 8 for any other tangible items, that the Producing Party affix in a prominent place on
 9 the exterior of the container or containers in which the information       is stored the
10 legend “CONFIDENTIAL.” If only a portion or portions of the                  information
11 warrants protection, the Producing Party, to the extent practicable, shall identify the
12 protected portion(s).
13         5.3   Inadvertent Failures to Designate. If timely corrected, an inadvertent
14 failure to designate qualified information or items does not, standing alone, waive the
15 Designating Party’s right to secure protection under this Order for such material.
16 Upon timely correction of a designation, the Receiving Party must make reasonable
17 efforts to assure that the material is treated in accordance with the provisions of this
18 Order.
19         6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
20         6.1   Timing of Challenges. Any Party or Non-Party may challenge a
21 designation of confidentiality at any time that is consistent with the            Court’s
22 Scheduling Order.
23         6.2   Meet and Confer. The Challenging Party shall initiate the dispute
24 resolution process under Local Rule 37.1 et seq.
25         6.3   The burden of persuasion in any such challenge proceeding shall be on
26 the Designating Party. Frivolous challenges, and those made for an improper
27 purpose (e.g., to harass or impose unnecessary expenses and burdens on other
28 parties) may expose the Challenging Party to sanctions. Unless the Designating

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 1 Party has waived or withdrawn the confidentiality designation, all parties shall
 2 continue to afford the material in question the level of protection to which it is
 3 entitled under the Producing Party’s designation until the Court rules on the
 4 challenge.
 5        7.     ACCESS TO AND USE OF PROTECTED MATERIAL
 6        7.1    Basic Principles. A Receiving Party may use Protected Material that is
 7 disclosed or produced by another Party or by a Non-Party in connection with this
 8 Action only for prosecuting, defending, or attempting to settle this Action. Such
 9 Protected Material may be disclosed only to the categories of persons and under the
10 conditions described in this Order. When the Action has been terminated,                  a
11 Receiving Party must comply with the provisions of section 13 below (FINAL
12 DISPOSITION).
13         Protected Material must be stored and maintained by a Receiving Party at a
14 location and in a secure manner that ensures that access is limited to the persons
15 authorized under this Order.
16         7.2   Disclosure of “CONFIDENTIAL” Information or Items. Unless
17 otherwise ordered by the court or permitted in writing by the Designating Party, a
18 Receiving     Party may disclose          any    information or     item designated
19 “CONFIDENTIAL” only to:
20         (a)   the Receiving Party’s Outside Counsel of Record in this Action, as
21 well as employees of said Outside Counsel of Record to whom it is reasonably
22 necessary to disclose the information for this Action;
23        (b)    the officers, directors, and employees (including House Counsel) of
24 the Receiving Party to whom disclosure is reasonably necessary for this Action;
25        (c)    Experts (as defined in this Order) of the Receiving Party to whom
26 disclosure is reasonably necessary for this Action and who have signed                 the
27 “Acknowledgment and Agreement to Be Bound” (Exhibit A);
28        (d) the court and its personnel;

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 1        (e) court reporters and their staff;
 2        (f)    professional jury or trial consultants, mock jurors, and Professional
 3 Vendors to whom disclosure is reasonably necessary for this Action and who have
 4 signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 5        (g) the author or recipient of a document containing the information or a
 6 custodian or other person who otherwise possessed or knew the information;
 7        (h) during their depositions, witnesses ,and attorneys for witnesses, in the
 8 Action to whom disclosure is reasonably necessary provided: (1) the deposing party
 9 requests that the witness sign the form attached as Exhibit 1 hereto; and (2) they will
10 not be permitted to keep any confidential information unless they sign                 the
11 “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise
12 agreed by the Designating Party or ordered by the court. Pages of transcribed
13 deposition testimony or exhibits to depositions that reveal Protected Material may
14 be separately bound by the court reporter and may not be disclosed to anyone except
15 as permitted under this Stipulated Protective Order; and
16        (i)    any mediator or settlement officer, and their supporting personnel,
17 mutually agreed upon by any of the parties engaged in settlement discussions.
18        8.     PROTECTED MATERIAL SUBPOENAED OR ORDERED
19 PRODUCED IN OTHER LITIGATION
20        If a Party is served with a subpoena or a court order issued in other litigation
21 that compels disclosure of any information or items designated in this Action as
22 “CONFIDENTIAL,” that Party must:
23        (a)    promptly notify in writing the Designating Party. Such notification
24 shall include a copy of the subpoena or court order;
25        (b) promptly notify in writing the party who caused the subpoena or order
26 to issue in the other litigation that some or all of the material covered by the
27 subpoena or order is subject to this Protective Order. Such notification shall include
28 a copy of this Stipulated Protective Order; and

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  1         (c)   cooperate with respect to all reasonable procedures sought to be
  2 pursued by the Designating Party whose Protected Material may be affected. If the
  3 Designating Party timely seeks a protective order, the Party served with the
  4 subpoena or court order shall not produce any information designated in this action
  5 as “CONFIDENTIAL” before a determination by the court from which the
  6 subpoena or order issued, unless the Party has obtained the Designating Party’s
  7 permission. The Designating Party shall bear the burden and expense of seeking
  8 protection in that court of its confidential material and nothing in these provisions
  9 should be construed as authorizing or encouraging a Receiving Party in this Action
 10 to disobey a lawful directive from another court.
 11         9.     A   NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
 12 PRODUCED IN THIS LITIGATION
 13         (a)    The terms of this Order are applicable to information produced by a
 14 Non-Party in this Action and designated as “CONFIDENTIAL.” Such information
 15 produced by Non-Parties in connection with this litigation is protected by the
 16 remedies and relief provided by this Order. Nothing in these provisions should be
 17 construed as prohibiting a Non-Party from seeking additional protections.
 18         (b)   In the event that a Party is required, by a valid discovery request, to
 19 produce a Non-Party’s confidential information in its possession, and the Party is
 20 subject to an agreement with the Non-Party not to produce the Non-Party’s
 21 confidential information, then the Party shall:
 22               (1) promptly notify in writing the Requesting Party and the Non-Party
 23 that some or all of the information requested is subject to a confidentiality
 24 agreement with a Non-Party;
 25               (2) promptly provide the Non-Party with a copy of the Stipulated
 26 Protective Order in this Action, the relevant discovery request(s), and a reasonably
 27 specific description of the information requested; and
 28 ///

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  1               (3) make the information requested available for inspection by the Non-
  2 Party, if requested.
  3         (c)   If the Non-Party fails to seek a protective order from this court within
  4 14 days of receiving the notice and accompanying information, the Receiving Party
  5 may produce the Non-Party’s confidential information responsive to the discovery
  6 request. If the Non-Party timely seeks a protective order, the Receiving Party shall
  7 not produce any information in its possession or control that is subject to the
  8 confidentiality agreement with the Non-Party before a determination by the court.
  9 Absent a court order to the contrary, the Non-Party shall bear the burden and
 10 expense of seeking protection in this court of its Protected Material.
 11         10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
 12 If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
 13 Protected Material to any person or in any circumstance not authorized under this
 14 Stipulated Protective Order, the Receiving Party must immediately (a) notify in
 15 writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
 16 to retrieve all unauthorized copies of the Protected Material, (c) inform the person or
 17 persons to whom unauthorized disclosures were made of all the terms of this Order,
 18 and (d) request such person or persons to execute the “Acknowledgment and
 19 Agreement to Be Bound” that is attached hereto as Exhibit A.
 20         11.    INADVERTENT PRODUCTION OF PRIVILEGED OR
 21 OTHERWISE PROTECTED MATERIAL
 22         When a Producing Party gives notice to Receiving Parties that certain
 23 inadvertently produced material is subject to a claim of privilege or other protection,
 24 the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
 25 Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
 26 may be established in an e-discovery order that provides for production without
 27 prior privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar
 28 as the parties reach an agreement on the effect of disclosure of a communication or

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  1 information covered by the attorney-client privilege or work product protection, the
  2 parties may incorporate their agreement in the stipulated protective order submitted
  3 to the court.
  4         12.     MISCELLANEOUS
  5         12.1 Right to Further Relief. Nothing in this Order abridges the right of any
  6 person to seek its modification by the Court in the future.
  7         12.2 Right to Assert Other Objections. By stipulating to the entry of this
  8 Protective Order no Party waives any right it otherwise would have to object to
  9 disclosing or producing any information or item on any ground not addressed in this
 10 Stipulated Protective Order. Similarly, no Party waives any right to object on any
 11 ground to use in evidence of any of the material covered by this Protective Order.
 12         12.3 Filing Protected Material. A Party that seeks to file under seal any
 13 Protected Material must comply with Civil Local Rule 79-5. Protected Material may
 14 only be filed under seal pursuant to a court order authorizing the sealing of the
 15 specific Protected Material at issue. If a Party's request to file Protected Material
 16 under seal is denied by the court, then the Receiving Party may file the information
 17 in the public record unless otherwise instructed by the court.
 18         13.     FINAL DISPOSITION
 19         After the final disposition of this Action, as defined in paragraph 4, within 60
 20 days of a written request by the Designating Party, each Receiving Party must return
 21 all Protected Material to the Producing Party or destroy such material. As used in
 22 this subdivision, “all Protected Material” includes all copies, abstracts, compilations,
 23 summaries, and any other format reproducing or capturing any of the Protected
 24 Material. Whether the Protected Material is returned or destroyed, the Receiving
 25 Party must submit a written certification to the Producing Party (and, if not the same
 26 person or entity, to the Designating Party) by the 60 day deadline that (1) identifies
 27 (by category, where appropriate) all the Protected Material that was returned           or
 28 destroyed and (2)affirms that the Receiving Party has not retained any copies,

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  1 abstracts, compilations, summaries or any other format reproducing or capturing any
  2 of the Protected Material. Notwithstanding this provision, Counsel are entitled to
  3 retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing
  4 transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert
  5 reports, attorney work product, and consultant and expert work product, even if such
  6 materials contain Protected Material. Any such archival copies that contain or
  7 constitute Protected Material remain subject to this Protective Order as set forth in
  8 Section 4 (DURATION).
  9        14. Any violation of this Order may be punished by any and all appropriate
 10 measures including, without limitation, contempt proceedings and/or monetary
 11 sanctions.
 12
      IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
 13
 14
      DATED 1/08/2025
 15
 16         /s/ Irina A. Kirnosova
            Attorneys for Plaintiff
 17
 18
      DATED: 1/07/2025
 19
 20         /s/ Kaleb N. Berhe
            Attorneys for Defendants
 21
 22
      FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
 23
 24 DATED: January 8, 2025                  _________________________________
                                              __________  ______________________
 25                                         Charles
                                            Charlles F. Eick
                                                        Eiick
                                                            k
                                            United States Magistrate Judge
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  1                                       EXHIBIT A
  2             ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
  3 I,                                          [print or type full name],        of
  4                        [print or type full address], declare under penalty of perjury
  5 that I have read in its entirety and understand the Stipulated Protective Order that
  6 was issued by the United States District Court for the Central District of California
  7 on [date] in the case of Danny Lopez v. Aircraft Service International, Inc., et al.,
  8 Case No. CV 21-7108-DMG (Ex). I agree to comply with and to be bound by all
  9 the terms of this Stipulated Protective Order and I understand and acknowledge
 10 that failure to so comply could expose me to sanctions and punishment in the nature
 11 of contempt. I solemnly promise that I will not disclose in any manner any
 12 information or item that is subject to this Stipulated Protective Order to any
 13 person or entity except in strict compliance with the provisions of this Order. I
 14 further agree to submit to the jurisdiction of the United States District Court for the
 15 Central District of California for the purpose of enforcing the terms of               this
 16 Stipulated Protective Order, even if such enforcement proceedings occur after
 17 termination of this action. I hereby appoint                                        [print
 18 or type full name] of                                                    _ [print or type
 19 full address and telephone number] as my California agent for service of process in
 20 connection with this action or any proceedings related to enforcement of this
 21 Stipulated Protective Order.
 22
 23 Date:
 24 City and State where sworn and signed:
 25 Printed name:
 26
 27 Signature:
 28

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